Case 2:21-cv-06320-MCS-JC Document 106 Filed 12/16/21 Page1lof1 Page ID #:892

UNITED STATES DISTRICT

CENTRAL DISTRICT OF CALIFORNIA

COURT

TRANSCRIPT ORDER FORM

Please use one form per court reporter per case, and contact court reporter
directly immediately after e-filing form. (Additional instructions on next page.)

COURT USE ONLY
DUE DATE:

 

 

la. Contact Person
for this Order

Phyllis Miller

 

 

2a. Contact Phone
Number

 

 

 

424.288.7919

 

 

3a. Contact E-mail

Address

Pmiller@kasowitz.com

 

 

 

 

1b. Attorney Name
(if different)

 

Daniel A. Saunders

2b. Attorney Phone
Number

 

 

 

 

 

424.288.7907

 

 

 

3b. Attorney E-mail
Address

 

Dsaunders@kasowitz.com

 

 

 

 

 

4, MAILING ADDRESS (INCLUDE LAW FIRM

NAME, IF APPLICABLE)

 

Kasowitz Benson Torres LLP
2029 Century Park East
Suite 2000

Los Angeles, CA 90067

 

5. Name & Role of
Party Represented

 

 

Defendants ELLIOT BROIDY; BROIDY CAPITAL MANAGEMENT, LLC; and
CIRCINUS, LLC

 

 

6. Case Name

 

 

MOSAFER INC., et al. v. ELLIOT BROIDY, et al.

 

 

 

7a. District Court
Case Number

 

 

2:21-cv-06320-MCS-JC

 

 

 

7b. Appeals Court
Case Number

 

 

 

 

 

 

 

 

8. INDICATE WHETHER PROCEEDING WAS
[_] DIGITALLY RECORDED

(choose only one per form):

 

[x] TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: MAREA WOOLRICH

 

 

9. THIS TRANSCRIPT ORDER IS FOR:

[_] Appeal Non-Appeal

[_] Criminal Civil

[.] CJA [] USA [[] FPD [_] In forma pauperis (Court order for transcripts must be attached)

 

10, TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):

You MUST check the docket to see if the transcript has already been filed, and if so,

provide the "Release of Transcript Restriction” date in column c, below.

 

a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court

order releasing transcript to the ordering party must be attached here or emailed to

transcripts _cacd@cacd. uscourts.gov.)

b, SELECT FORMAT(S)

(CM/ECF access included
with purchase of transcript.)

c. RELEASE OF TRANS. | q.
RESTRICTION DATE

DELIVERY TYPE
30-day, 14-day, 7-day, 3-day, Daily, Hourly

 

Minute Order

PROCEEDING TYPE / PORTION

(Provide release date o (Check with court reporter

 

HEARING JUDGE — TEXT/ CONDEN- CM/ECF worn '
DATE Dockets If requesting less than full hearing, specify portion (e,g,, witness or lime), : ASCII PAPER SED ACCESS wnpxInG efiled transcript, or check to before choosing any delivery time
{if available) (name) {JA orders: indicate if openings, closings, voir dire, or instructions requested (email) (email) (email) (web) certify none yet on file. ) sooner than “Ordinary-30.")
12/06/2021) 93 ao park MOTION TO STRIKE © OO O O CO CO |®@ 14-Day

 

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11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be

requested in Section 14 of CJA-24 Voucher (attach additional pages if

deed)

 

 

 

 

 

12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure

payment under the Criminal Justice Act.
G-120 (06/18)

Date

December 16, 2021

 

 

Signature

 

 

/s/ Daniel A. Saunders

 

 
